                                                     1   Amanda L. Groves (SBN: 187216)
                                                         agroves@winston.com
                                                     2   WINSTON & STRAWN LLP
                                                         101 California Street, 35th Floor
                                                     3   San Francisco, CA 94111-5802
                                                         Telephone: (415) 591-1000
                                                     4   Facsimile: (415) 591-1400
                                                     5   Daniel D. Rubinstein (SBN: 178896)
                                                         drubinstein@winston.com
                                                     6   WINSTON & STRAWN LLP
                                                         35 W. Wacker Drive
                                                     7   Chicago, IL 60601-9703
                                                         Telephone: (312) 558-5600
                                                     8   Facsimile: (312) 558-5700
                                                     9   Shawn R. Obi (SBN: 288088)
                                                         sobi@winston.com
                                                    10   WINSTON & STRAWN LLP
                                                         333 S. Grand Avenue
                                                    11   Los Angeles, CA 90071-1543
                       Los Angeles, CA 90071-1543




                                                         Telephone: (213) 615-1700
Winston & Strawn LLP




                                                    12   Facsimile: (213) 615-1750
                          333 S. Grand Avenue




                                                    13   Attorneys for Defendant
                                                         JIM BEAM BRANDS CO.
                                                    14
                                                    15                          UNITED STATES DISTRICT COURT
                                                    16                       SOUTHERN DISTRICT OF CALIFORNIA
                                                    17   SCOTT WELK, INDIVIDUALLY AND                    Case No. 3:15-cv-0328 LAB JMA
                                                         ON BEHALF OF ALL OTHERS                         Pleading Type: Class Action
                                                    18   SIMILARLY SITUATED,
                                                    19                Plaintiffs,                        DEFENDANT JIM BEAM BRANDS
                                                                                                         CO.’S MEMORANDUM OF POINTS
                                                    20         v.                                        AND AUTHORITIES IN SUPPORT
                                                                                                         OF ITS MOTION TO DISMISS
                                                    21   BEAM SUNTORY IMPORT CO. and                     COMPLAINT
                                                         JIM BEAM BRANDS CO.,
                                                    22                                                   Hearing Date: May 4, 2015
                                                                      Defendants.                        Time:         11:15 a.m.
                                                    23                                                   Courtroom:    Courtroom   14A
                                                                                                                       (14th Floor - Annex)
                                                    24                                                   Judge:        Hon. Larry A. Burns
                                                    25                                                   Complaint Filed: February 17, 2015
                                                    26
                                                    27
                                                    28

                                                         DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1                                           TABLE OF CONTENTS
                                                       2                                                                                                                         Page
                                                       3   I.     INTRODUCTION ................................................................................................ 1
                                                       4   II.    STATEMENT OF ALLEGED FACTS ............................................................... 1
                                                       5   III.   STANDARD OF REVIEW.................................................................................. 3
                                                       6   IV.    ARGUMENT........................................................................................................ 4
                                                       7          A.       Plaintiff’s Claims Fail Because the Challenged Label is
                                                                           Affirmatively Authorized Under State and Federal Law........................... 4
                                                       8
                                                                  B.       Even if Plaintiff’s Claims Were Not Barred by the Safe Harbor
                                                       9                   Doctrine, They Should be Dismissed......................................................... 8
                                                      10                   1.       Plaintiff Has Not Plausibly Alleged a Likelihood of
                                                                                    Deception ......................................................................................... 8
                                                      11
                       San Francisco, CA 94111-5802




                                                                           2.       Plaintiff Cannot State a Claim For Intentional
Winston & Strawn LLP




                                                      12                            Misrepresentation........................................................................... 14
                           101 California Street




                                                      13                   3.       The Economic Loss Doctrine Bars Plaintiff’s Negligent
                                                                                    Misrepresentation Claims .............................................................. 16
                                                      14
                                                           V.     CONCLUSION .................................................................................................. 17
                                                      15
                                                      16
                                                      17
                                                      18
                                                      19
                                                      20
                                                      21
                                                      22
                                                      23
                                                      24
                                                      25
                                                      26
                                                      27
                                                      28
                                                                                                                       i
                                                           DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                  TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1
                                                                                                  TABLE OF AUTHORITIES
                                                       2
                                                                                                                                                                          Page(s)
                                                       3   CASES
                                                       4
                                                           Alvarez v. Chevron Corp.,
                                                       5      656 F.3d 925 (9th Cir. 2011) ................................................................................ 4
                                                       6   Ashcroft v. Iqbal,
                                                       7      556 U.S. 662 (2009).............................................................................................. 3
                                                       8   Barnes v. Campbell Soup Co.,
                                                       9     2013 WL 5530017 (N.D. Cal. 2013) .................................................................... 7

                                                      10   Bell Atl. v. Twombly,
                                                              550 U.S. 544 (2007).......................................................................................... 3, 4
                                                      11
                       San Francisco, CA 94111-5802
Winston & Strawn LLP




                                                      12   Brod v. Sioux Honey Ass’n Coop.,
                           101 California Street




                                                              927 F. Supp. 2d 811 (N.D. Cal. 2013).................................................................. 8
                                                      13
                                                           Carrea v. Dreyer's Grand Ice Cream, Inc.,
                                                      14     475 F. App’x 113 (9th Cir. 2012) ....................................................................... 12
                                                      15
                                                           Cel-Tech Commc’ns, Inc. v. Los Angeles Cellular Tel. Co.,
                                                      16      20 Cal. 4th 163 (1999) .............................................................................. 4, 5, 6, 8
                                                      17   Chem. Device Corp. v. Am. Cyanamid Co.,
                                                      18     Case No. C-89-1739 WHO, 1990 WL 56164 (N.D. Cal. Jan. 11, 1990) ........... 15
                                                      19   Coastal Abstract Serv., Inc. v. First Am. Title Ins. Co.,
                                                      20     173 F.3d 725 (9th Cir. 1999) .............................................................................. 11

                                                      21   Consumer Advocates v. Echostar Satellite Corp.,
                                                             113 Cal. App. 4th 1351 (2003) ............................................................................. 8
                                                      22
                                                      23   Daniels-Hack v. Nat’l Educ. Ass’n,
                                                             629 F.3d 992 (9th Cir. 2010) .............................................................................. 14
                                                      24
                                                           Davis v. HSBC Bank Nev.,
                                                      25
                                                             691 F.3d 1152 (9th Cir. 2012) .............................................................................. 5
                                                      26
                                                           DePriest v. AstraZeneca Pharms., L.P.,
                                                      27     351 S.W.3d 173-78 (Ark. 2009) ........................................................................... 7
                                                      28
                                                                                                                       ii
                                                           DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                  TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1   Durning v. First Boston Corp.,
                                                       2     815 F.2d 1265 (9th Cir. 1987) .............................................................................. 3

                                                       3   Ebner v. Fresh Inc.,
                                                             Case No. SACV 13-00477 JVS, 2013 WL 9760035 (C.D. Cal. Sept. 11,
                                                       4
                                                             2013) ..................................................................................................................... 5
                                                       5
                                                           Freeman v. Time, Inc.,
                                                       6      68 F.3d 285 (9th Cir. 1995) ............................................................................ 8, 11
                                                       7
                                                           Hairston v. S. Beach Beverage Co. Inc.,
                                                       8     Case No. CV-1429-JFW DTBX, 2012 WL 1893818 (C.D. Cal. 2012)......... 9, 11
                                                       9   In re Celexa & Lexapro Mktg. & Sales Practices Litig.,
                                                      10       No. 13–11343–NMG, 2014 WL 866571 (D. Mass. Mar. 5, 2014) ...................... 6
                                                      11   In re Medtronic, Inc., Sprint Fidelis Leads Prods. Liab. Litig.,
                       San Francisco, CA 94111-5802




                                                               623 F.3d 1200 (8th Cir. 2010) .............................................................................. 8
Winston & Strawn LLP




                                                      12
                           101 California Street




                                                      13   J'Aire Corp. v. Gregory,
                                                              24 Cal. 3d 799 (Cal. 1979) ................................................................................. 16
                                                      14
                                                           Kalitta Air, LLC v. Cent. Tex. Airborne Sys., Inc.,
                                                      15
                                                             315 F. App’x 603 (9th Cir. 2008) ....................................................................... 16
                                                      16
                                                           Knievel v. ESPN,
                                                      17     393 F.3d 1068 (9th Cir. 2005) ........................................................................ 2, 14
                                                      18
                                                           Koehler v. Litehouse, Inc.,
                                                      19     Case No. 12-cv-4055, 2012 WL 6217635 (N.D. Cal. Dec. 13, 2012) ............... 11
                                                      20   Koenig v. Boulder Brands, Inc.,
                                                      21     995 F. Supp. 2d 274 (S.D.N.Y. 2014) ................................................................ 10
                                                      22   Kuenzig v. Hormel Foods Corp.,
                                                      23     505 F. App’x 937 (11th Cir. 2013) ................................................................... 6, 7

                                                      24   Ladore v. Sony Computer Entm’t Am., LLC,
                                                             2014 WL 7187159 (N.D. Cal. Dec. 16, 2014) ................................................... 17
                                                      25
                                                      26   Lam v. General Mills, Inc.,
                                                             859 F. Supp. 2d 1097 (N.D. Cal. 2012).............................................................. 10
                                                      27
                                                      28
                                                                                                                           iii
                                                            DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                   TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1   Lavie v. Procter & Gamble Co.,
                                                       2      105 Cal. App. 4th 496 (2003) ..................................................................... 8, 9, 13

                                                       3   Leadsinger, Inc. v. BMG Music Publ’g,
                                                              429 F. Supp. 2d 1190 (C.D. Cal. 2005) ................................................................ 4
                                                       4
                                                       5   Manchouck v. Mondelez Int’l Inc.,
                                                             2013 WL 5400285 (N.D. Cal. Sept. 26, 2013) ................................................... 14
                                                       6
                                                           Manderville v. PCG & S Group, Inc.,
                                                       7
                                                             146 Cal. App. 4th 1486 (2007) ........................................................................... 15
                                                       8
                                                           Meaunrit v. ConAgra Foods Inc.,
                                                       9     2010 WL 2867393 (N.D. Cal. 2010) .................................................................... 7
                                                      10
                                                           Miller v. Rykoff-Sexton, Inc.,
                                                      11      845 F.2d 209 (9th Cir. 1988) ................................................................................ 4
                       San Francisco, CA 94111-5802
Winston & Strawn LLP




                                                      12
                           101 California Street




                                                           Minkler v. Apple, Inc.,
                                                      13     2014 WL 4100613 (N.D. Cal. Aug. 20, 2014) ................................................... 16
                                                      14   Nowrouzi v. Maker’s Mark Distillery Inc.,
                                                             No. 3:14-CV-02885-JAH-NLS (S.D. Cal.) ........................................................ 16
                                                      15
                                                      16   Perez v. Nidek Co.,
                                                              711 F.3d 1109 (9th Cir. 2013) .............................................................................. 8
                                                      17
                                                           Pom Wonderful LLC v. Coca Cola Co.,
                                                      18
                                                             Case No. CV 08-06237 SJO, 2013 WL 543361 (C.D. Cal. April 16, 2013) ....... 5
                                                      19
                                                           Porras v. StubHub, Inc.,
                                                      20     Case No. C 12-1225 MMC, 2012 WL 3835073 (N.D. Cal. Sept. 4, 2012) ....... 14
                                                      21
                                                           Prohias v. Pfizer, Inc.,
                                                      22      490 F. Supp. 2d 1228 (S.D. Fla. 2007) ................................................................. 6
                                                      23   Reigal v. Medtronic, Inc.,
                                                      24      552 U.S. 312 (2008).............................................................................................. 8
                                                      25   Sprewell v. Golden State Warriors,
                                                      26      266 F.3d 979 (9th Cir. 2001) .............................................................................. 16

                                                      27   Stearns v. Select Comfort Retail Corp.,
                                                              Case No. 08-2746 JF, 2009 WL 1635931 (N.D. Cal. June 5, 2009).................. 13
                                                      28
                                                                                                                       iv
                                                           DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                  TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1   Steckman v. Hart Brewing, Inc.,
                                                       2      143 F.3d 1293 (9th Cir.1998) ............................................................................. 16

                                                       3   Stuart v. Cadbury Adams USA, LLC,
                                                              458 F. App’x 689 (9th Cir. 2011) ................................................................. 12, 15
                                                       4
                                                       5   Sumner Peck Ranch v. Bureau of Reclamation,
                                                             823 F.Supp. 715 (E.D. Cal. 1993) ........................................................................ 3
                                                       6
                                                           Thomas v. Costco Wholesale Corp.,
                                                       7
                                                             Case No. 5:12-CV-02908 EJD, 2013 WL 1435292 (N.D. Cal. Apr. 9, 2013) .. 14
                                                       8
                                                           Trazo v. Nestle USA, Inc.,
                                                       9      2013 WL 4083218 (N.D. Cal. Aug. 9, 2013) ....................................................... 7
                                                      10
                                                           Vavak v. Abbott Labs., Inc.,
                                                      11     2011 WL 10550065 (C.D. Cal. June 17, 2011) .................................................. 17
                       San Francisco, CA 94111-5802
Winston & Strawn LLP




                                                      12
                           101 California Street




                                                           Vitt v. Apple Computer, Inc.,
                                                      13      469 F. App’x 605 (9th Cir. 2012) ................................................................. 11, 12
                                                      14   Werbel ex rel. v. Pepsico, Inc.,
                                                             Case No. C 09-04456 SBA, 2010 WL 2673860 (N.D. Cal. July 2, 2010) .......... 9
                                                      15
                                                      16   Williams v. Gerber Prods. Co.,
                                                              552 F.3d 934 (9th Cir. 2008) .............................................................................. 10
                                                      17
                                                           Williamson v. Apple, Inc.,
                                                      18
                                                              Case No. 5:11-cv-00377 EJD, 2012 WL 3835104 (N.D. Cal. Sept. 4, 2012) ... 12
                                                      19
                                                           STATUTES
                                                      20
                                                      21   27 U.S.C. § 205 ...................................................................................................... 5, 6

                                                      22   OTHER AUTHORITIES
                                                      23   27 C.F.R. § 5.42(1) .................................................................................................... 5
                                                      24   27 C.F.R. § 5.65 ..................................................................................................... 7, 6
                                                      25
                                                           27 C.F.R. § 13.1 ..................................................................................................... 5, 7
                                                      26
                                                           27 C.F.R. § 13.21 ....................................................................................................... 5
                                                      27
                                                      28   Fed. R. Civ. P. 12(b)(6) ................................................................................... 3, 4, 14
                                                                                                                          v
                                                            DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                   TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1   http://www.ttb.gov/ .................................................................................................... 5
                                                       2
                                                           http://www.ttb.gov/consumer/labeling_ advertising.shtml ....................................... 6
                                                       3
                                                           http://www.ttb.gov/main_pages/memo-understanding.shtml ................................... 5
                                                       4
                                                       5
                                                       6
                                                       7
                                                       8
                                                       9
                                                      10
                                                      11
                       San Francisco, CA 94111-5802
Winston & Strawn LLP




                                                      12
                           101 California Street




                                                      13
                                                      14
                                                      15
                                                      16
                                                      17
                                                      18
                                                      19
                                                      20
                                                      21
                                                      22
                                                      23
                                                      24
                                                      25
                                                      26
                                                      27
                                                      28
                                                                                                                         vi
                                                            DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                   TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1                 MEMORANDUM OF POINTS AND AUTHORITIES
                                                       2   I.    INTRODUCTION
                                                       3         Plaintiff presents a first-of-its-kind labeling claim: that a 1/16” high, 12-letter
                                                       4   word (“handcrafted”) on the side of a bourbon bottle—not even visible to consumers
                                                       5   unless they pull the bottle off the shelf and turn it—fraudulently induced consumers to
                                                       6   buy Jim Beam white label bourbon. Plaintiff claims that because this word induced
                                                       7   the “thousands, if not millions” of Class purchases: (1) all purchasers should get their
                                                       8   money back; (2) Defendant should fund a corrective advertising campaign (with
                                                       9   “written notice to the public”); and (3) Plaintiff’s counsel should receive an award of
                                                      10   “[r]easonable attorneys’ fees.” Compl. ¶¶ 23, 64, Prayer for Relief. As demonstrated
                                                      11   below, Plaintiff’s theory is factually and legally untenable.
                       San Francisco, CA 94111-5802
Winston & Strawn LLP




                                                      12         Plaintiff’s unprecedented allegations, founded solely on small print on a side
                           101 California Street




                                                      13   label, defy common sense and stretch the bounds of California’s “reasonable
                                                      14   consumer” test beyond recognition. Plaintiff also ignores that as an alcoholic
                                                      15   beverage, the Jim Beam label is pre-approved by a federal agency, resulting in a “safe
                                                      16   harbor” from consumer fraud claims under California state law. Thus, even if
                                                      17   Plaintiff could plausibly allege deception of “reasonable consumers,” which plainly he
                                                      18   cannot, his claims would be barred.
                                                      19         Respectfully, all of Plaintiff’s claims should be dismissed, and without leave to
                                                      20   amend.
                                                      21   II.   STATEMENT OF ALLEGED FACTS
                                                      22         Jim Beam Brands Co. (“Jim Beam”) manufactures, markets and sells bourbon
                                                      23   whisky products. See Compl. ¶¶ 2, 11, 12. On February 17, 2015, Plaintiff Scott
                                                      24   Welk filed his Complaint, purportedly on behalf of all California consumers who
                                                      25   purchased Jim Beam white label bourbon (“Jim Beam bourbon”) from February 18,
                                                      26   2011, through February 17, 2015. Id. ¶¶ 126-27. The Complaint purports to state
                                                      27   claims under California state law: violations of the Unfair Competition Law (“UCL”)
                                                      28   and the False Advertising Law (“FAL”), as well as claims for intentional
                                                                                                        1
                                                           DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                  TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1   misrepresentation and negligent misrepresentation. Although Plaintiff named both
                                                       2   Jim Beam Brands Co. and “Beam Suntory Import Co.” as Defendants, the entity
                                                       3   “Beam Suntory Import Company” does not exist and is therefore not a proper
                                                       4   defendant in this matter.
                                                       5         Plaintiff alleges that he purchased a 1.75 liter bottle of Jim Beam bourbon on
                                                       6   December 12, 2013, at an unidentified “local liquor store” in San Diego. Id. ¶¶ 30,
                                                       7   34. According to his Complaint, he purchased the bourbon because it bore the
                                                       8   statement “handcrafted” on its label, and this allegedly led him to believe the bourbon
                                                       9   “was of superior quality” for which he was willing to spend comparatively more than
                                                      10   he would for a lesser quality comparative product. Id. ¶¶ 35, 64.
                                                      11         Plaintiff repeatedly alleges the “handcrafted” statement appears “prominently”
                       San Francisco, CA 94111-5802
Winston & Strawn LLP




                                                      12   and in “large font” on the label. Id. ¶¶ 18, 21, 33. This is so patently untrue that the
                           101 California Street




                                                      13   Complaint resorts to enlarging and distorting the appearance of the “handcrafted”
                                                      14   statement on the label. As compared to the actual label (see Exhibit A to Request for
                                                      15   Judicial Notice1), Plaintiff apparently created a blown-up version (¶ 33) by first
                                                      16   photographing the label (it is slanted and has a glare), then – based on the fuzzy
                                                      17   appearance – must have zoomed in on the image and stretched it horizontally to
                                                      18   amplify its appearance. The photo of the actual label (¶ 32 as to the front and right
                                                      19   side panels, and in full in Exhibit A to Request for Judicial Notice) demonstrates that
                                                      20   the word appears once, in small print (only 1/16” high on the 1.75 liter bottle and only
                                                      21   1 millimeter high on the 750 milliliter bottle), and only on one of the sides of the
                                                      22   label. Indeed, the “handcrafted” statement appears only as part of an artistic graphic
                                                      23
                                                      24   1
                                                             The label from the Jim Beam bourbon is attached as Exhibit A to Jim Beam’s
                                                      25   Request for Judicial Notice, filed contemporaneously with this motion. Courts may
                                                           consider additional documents where “the plaintiff’s claim depends on the contents of
                                                      26   a document, the defendant attaches the document to its motion to dismiss, and the
                                                      27   parties do not dispute the authenticity of the document, even though the plaintiff does
                                                           not explicitly allege the contents of that document in the complaint.” Knievel v.
                                                      28   ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005).
                                                                                                        2
                                                           DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                  TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1   design above (and in the same font as) the words “family recipe” and “since 1795,”
                                                       2   with a whisky barrel appearing in between the words. Id. The label itself shows that
                                                       3   the challenged “handcrafted” statement is not – under any definition of the word –
                                                       4   “prominent” on the Jim Beam bourbon label. 2 Plaintiff does not allege, nor can he,
                                                       5   that the challenged statement appears anywhere on the front of the label, or even on
                                                       6   the second side label, for that matter. (See Exhibit A to Request for Judicial Notice.)
                                                       7          Plaintiff alleges he was misled because Jim Beam’s production process involves
                                                       8   “little to no human supervision, assistance or involvement.” Id. ¶ 36. He further
                                                       9   alleges that photos, diagrams and video footage “taken directly from [Jim Beam’s]
                                                      10   website” demonstrate in detail the “mechanized and/or automated” process used to
                                                      11   produce the bourbon. See, e.g., id. ¶¶ 15, 16, 38-63. Plaintiff argues it was false or
                       San Francisco, CA 94111-5802
Winston & Strawn LLP




                                                      12   misleading for Jim Beam to describe its bourbon made by this process as
                           101 California Street




                                                      13   “handcrafted,” relying on the definition provided in the Merriam-Webster dictionary
                                                      14   (i.e., “created by a hand process rather than by a machine”). Id. ¶ 70. Plaintiff does
                                                      15   not allege that he suffered any personal injury or property damage as a result of his
                                                      16   purchase of the Jim Beam bourbon, only that he either would not have purchased the
                                                      17   bourbon—or would have paid less for it—had he known that it “was not
                                                      18   ‘Handcrafted.’” Id. ¶ 22.
                                                      19   III.   STANDARD OF REVIEW
                                                      20          Under Federal Rule of Civil Procedure (“Rule”) 12(b)(6), a court may dismiss a
                                                      21   complaint for “failure to state a claim upon which relief can be granted.” Fed. R. Civ.
                                                      22   P. 12(b)(6). A complaint fails to state a claim under Rule 12(b)(6) unless it contains
                                                      23   “enough facts to state a claim for relief that is plausible on its face.” Bell Atl. v.
                                                      24
                                                           2
                                                      25     The Court should ignore Plaintiff’s allegations that the challenged statement is
                                                           “prominent” or written in “large font.” See Sumner Peck Ranch v. Bureau of
                                                      26   Reclamation, 823 F. Supp. 715, 720 (E.D. Cal. 1993) (citing Durning v. First Boston
                                                      27   Corp., 815 F.2d 1265, 1267 (9th Cir. 1987)) (“the court may disregard allegations in
                                                           the complaint if contradicted by facts established by exhibits attached to the
                                                      28   complaint”).
                                                                                                         3
                                                           DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                  TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1   Twombly, 550 U.S. 544, 547 (2007). The court should not accept unreasonable
                                                       2   inferences or unwarranted deductions of fact. Ashcroft v. Iqbal, 556 U.S. 662, 678
                                                       3   (2009) (noting that “[t]hreadbare recitals of the elements of a cause of action,
                                                       4   supported by mere conclusory statements, do not suffice”). In other words, a
                                                       5   complaint must allege “more than labels and conclusions” or a “formulaic recitation of
                                                       6   the elements of a cause of action.” Twombly, 550 U.S. at 555. Rather, the factual
                                                       7   allegations “must be enough to raise a right to relief above the speculative level.” Id.
                                                       8   Where, as here, the complaint contains unsupported factual allegations and
                                                       9   implausible theories of relief, Rule 12(b)(6) requires that the complaint be dismissed.
                                                      10   Id. at 547.
                                                      11         Although a motion to dismiss may be granted with leave to amend, leave to
                       San Francisco, CA 94111-5802
Winston & Strawn LLP




                                                      12   amend is not required where “any amendment would be futile.” See Leadsinger, Inc.
                           101 California Street




                                                      13   v. BMG Music Publ’g, 429 F. Supp. 2d 1190, 1197 (C.D. Cal. 2005); Miller v. Rykoff-
                                                      14   Sexton, Inc., 845 F.2d 209, 214 (9th Cir. 1988) (citation omitted) (futility means that
                                                      15   “no set of facts can be proved under the amendment to the pleadings that would
                                                      16   constitute a valid and sufficient claim or defense”).
                                                      17   IV.   ARGUMENT
                                                      18         A.      Plaintiff’s Claims Fail Because the Challenged Label is Affirmatively
                                                                         Authorized Under State and Federal Law
                                                      19
                                                      20         Plaintiff claims that Jim Beam’s use of the statement “handcrafted” on its
                                                      21   bourbon label violates California state law. But it is well established that Jim Beam’s
                                                      22   compliance with federal law and regulations insulates it from Plaintiff’s claims. Cel-
                                                      23   Tech Commc’ns, Inc. v. Los Angeles Cellular Tel. Co., 20 Cal. 4th 163, 182 (1999);
                                                      24   see also Alvarez v. Chevron Corp., 656 F.3d 925, 934 (9th Cir. 2011) (applying the
                                                      25   Cel-Tech safe harbor to a UCL claim and applying a similar safe harbor to the
                                                      26   Consumers Legal Remedies Act (“CLRA”) claims). As the California Supreme Court
                                                      27   has held, California’s safe harbor doctrine applies with extra force in the context of
                                                      28   consumer protection laws:
                                                                                                        4
                                                           DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                  TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1
                                                       2                   “Although the unfair competition law’s scope is
                                                                           sweeping, it is not unlimited. … If the Legislature has
                                                       3                   permitted certain conduct or considered a situation and
                                                       4                   concluded no action should lie, courts may not override
                                                                           that determination. When specific legislation provides a
                                                       5                   ‘safe harbor,’ plaintiffs may not use the general unfair
                                                       6                   competition law to assault that harbor.”

                                                       7
                                                           Cel-Tech, 20 Cal. 4th at 182. Thus, where a defendant “complie[s] with the relevant
                                                       8
                                                           [federal] regulations,” its conduct is not subject to UCL or FAL claims. Pom
                                                       9
                                                           Wonderful LLC v. Coca Cola Co., Case No. CV 08-06237 SJO (FMOx), 2013 WL
                                                      10
                                                           543361, at *5 (C.D. Cal. April 16, 2013) (finding that the safe harbor doctrine
                                                      11
                       San Francisco, CA 94111-5802




                                                           provided a separate and independent basis for dismissing UCL and FAL claims); see
Winston & Strawn LLP




                                                      12
                           101 California Street




                                                           also Ebner v. Fresh Inc., Case No. SACV 13-00477 JVS, 2013 WL 9760035, at *6
                                                      13
                                                           (C.D. Cal. Sept. 11, 2013) (finding that compliance with FDA labeling regulations
                                                      14
                                                           insulated cosmetic manufacturer from UCL and FAL liability under California safe
                                                      15
                                                           harbor doctrine); Davis v. HSBC Bank Nev., 691 F.3d 1152, 1165–66 (9th Cir. 2012)
                                                      16
                                                           (affirming dismissal of UCL claim based on safe harbor provided by federal
                                                      17
                                                           regulations).
                                                      18
                                                                 Plaintiff nevertheless seeks to hold Jim Beam liable under state law for doing
                                                      19
                                                           precisely what the federal government has permitted. But because Plaintiff cannot
                                                      20
                                                           “assault th[e] harbor” of federal regulations through the guise of California consumer
                                                      21
                                                           protection claims, all of his claims must fail. Cel-Tech, 20 Cal. 4th at 182. In
                                                      22
                                                           particular, the TTB is the federal agency charged with promulgating regulations
                                                      23
                                                           regarding the labeling of distilled spirits, wines, and malt beverages pursuant to the
                                                      24
                                                           FAAA. The TTB also enforces FAAA regulations regarding the labeling of distilled
                                                      25
                                                           spirits, including 27 U.S.C. § 205(e)’s prohibition of false and misleading statements.
                                                      26
                                                           See http://www.ttb.gov/main_pages/memo-understanding.shtml; http://www.ttb.gov/
                                                      27
                                                           about/stat_auth.shtml; 27 U.S.C. § 205(e); 27 C.F.R. § 5.42(1). To ensure a distilled
                                                      28
                                                                                                        5
                                                           DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                  TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1   spirit label “complies with applicable laws and regulations,” the TTB reviews and
                                                       2   approves distilled spirit labels prior to the products’ distribution or sale. See 27
                                                       3   C.F.R. § 13.1, 13.21. This review includes the mandate in Section 27 U.S.C. § 205(e)
                                                       4   that the label not be false or misleading: “[e]xamples of advertising areas that TTB
                                                       5   will review include … [s]tatements that are false, misleading, or deceptive….” See
                                                       6   http://www.ttb.gov/consumer/labeling_ advertising.shtml); see also 27 U.S.C. § 205;
                                                       7   27 C.F.R. § 5.65(a).
                                                       8         When a federal agency reviews and pre-approves labels for regulatory
                                                       9   compliance, courts across the country have consistently applied state law safe harbor
                                                      10   provisions. While the California Supreme Court has expressly recognized such a safe
                                                      11   harbor for California, the California courts have not yet had occasion to apply it in this
                       San Francisco, CA 94111-5802
Winston & Strawn LLP




                                                      12   scenario. Cel-Tech, 20 Cal. 4th at 182-185. The repeated application in other
                           101 California Street




                                                      13   jurisdictions, including one applying California law, however, demonstrates that
                                                      14   application here fits squarely within the Cel-Tech rationale. See In re Celexa &
                                                      15   Lexapro Mktg. & Sales Practices Litig., No. 13–11343–NMG, 2014 WL 866571, at
                                                      16   *3 (D. Mass. Mar. 5, 2014) (applying California law) (UCL and FAL claims based on
                                                      17   allegations that prescription drug label was “misleading and inadequate” barred as a
                                                      18   matter of law by the California safe harbor provision where drug labels are subject to
                                                      19   FDA’s preapproval process). For instance, in Kuenzig v. Hormel Foods Corp., 505 F.
                                                      20   App’x 937 (11th Cir. 2013) (per curiam), the Eleventh Circuit affirmed the district
                                                      21   court’s dismissal of the plaintiff’s “putative class-action complaint alleging that [the
                                                      22   defendant] misled consumers into believing its lunch meat products contained fewer
                                                      23   fat-calories than they actually did.” Id. at 938-39. In affirming, the court reasoned
                                                      24   that the “[t]he labels complied with federal regulations regarding the use of percentage
                                                      25   fat-free claims and were approved by [the appropriate federal agency] prior to their
                                                      26   commercial use.” Id. (emphasis added). For these reasons, the court held that the
                                                      27   defendants “could not be liable pursuant to [Florida]’s safe harbor provision.”
                                                      28   Id. Other courts have done the same. See Prohias v. Pfizer, Inc., 490 F. Supp. 2d
                                                                                                        6
                                                           DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                  TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1   1228, 1234 (S.D. Fla. 2007) (applying safe harbor where “the FDA approved the
                                                       2   prescription drug … to reduce the risk of heart attacks …,” the drug’s “FDA approved
                                                       3   label specifically include[d] this indication,” and “[a]ccordingly, any advertisements
                                                       4   that stated or implied that [the drug] reduced the risk of heart disease or heart attacks
                                                       5   simply marketed an approved use of the drug”); DePriest v. AstraZeneca Pharms.,
                                                       6   L.P., 351 S.W.3d 173-78 (Ark. 2009) (applying safe harbor where the “FDA is vested
                                                       7   with the authority to approve labeling for any new drug,” “the FDA regulates
                                                       8   prescription drug advertising,” the FDA specifically approved the labeling for the
                                                       9   prescription drug at issue, thus determining “that the information is not false or
                                                      10   misleading,” and the defendant’s “advertising for [the drug] is supported by FDA-
                                                      11   approved labeling”).
                       San Francisco, CA 94111-5802
Winston & Strawn LLP




                                                      12         As described above, the TTB’s process here includes a review to ensure labels
                           101 California Street




                                                      13   do not contain “[a]ny statement that is false or untrue in any material particular, or
                                                      14   that, irrespective of falsity, directly, or by ambiguity, omission, or inference, or by the
                                                      15   addition of irrelevant, scientific or technical matter tends to create a misleading
                                                      16   impression.” 27 C.F.R. § 5.65; 27 C.F.R. § 13.1, et seq. It is thus nearly identical to
                                                      17   the pre-approval processes in Kuenzig (where the USDA reviewed meat and poultry
                                                      18   products for compliance with the Federal Meat Inspection Act’s similar regulations)
                                                      19   and in cases where prescription drug labels and medical devices are also expressly
                                                      20   pre-approved. See, e.g., Barnes v. Campbell Soup Co., 2013 WL 5530017, at *5
                                                      21   (N.D. Cal. 2013) (precluding state law claims where the USDA and Food Safety and
                                                      22   Inspection Service “previously approved of Defendant’s … [label], [the label] cannot
                                                      23   be construed, as a matter of law, as false or misleading”); Meaunrit v. ConAgra Foods
                                                      24   Inc., 2010 WL 2867393, at *7 (N.D. Cal. 2010) (dismissing state causes of action
                                                      25   “[b]ecause the pre-approval process [under the FMIA] includes a determination of
                                                      26   whether the labeling is false and misleading, and the gravamen of plaintiff’s attack on
                                                      27   the label concerns whether those instructions are accurate”); Trazo v. Nestle USA, Inc.,
                                                      28   2013 WL 4083218, at *7 (N.D. Cal. Aug. 9, 2013) (claims against Nestle’s Lean
                                                                                                        7
                                                           DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                  TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1   Pockets and Hot Pockets dismissed because “meat products are pre-approved by the
                                                       2   USDA, which first reviews the labels, considers whether they are false or misleading,
                                                       3   and approves them. The Hot Pockets and Lean Pockets in question have the USDA-
                                                       4   approved sticker on the label, indicating that they have gone through the process”);
                                                       5   Reigal v. Medtronic, Inc., 552 U.S. 312, 321 (2008) (plaintiff’s state law claims barred
                                                       6   because the FDA provided pre-approval of the pharmaceutical label in dispute); In re
                                                       7   Medtronic, Inc., Sprint Fidelis Leads Prods. Liab. Litig., 623 F.3d 1200, 1203 (8th
                                                       8   Cir. 2010) (same); Perez v. Nidek Co., 711 F.3d 1109, 1118 (9th Cir. 2013) (affirming
                                                       9   dismissal of common-law claims challenging the safety and effectiveness of a medical
                                                      10   device that had received premarket approval from the FDA). The same result is
                                                      11   appropriate here, and all of Plaintiff’s claims, as they arise under state law, should
                       San Francisco, CA 94111-5802
Winston & Strawn LLP




                                                      12   therefore be dismissed under California’s safe harbor doctrine. Cel-Tech, 20 Cal. 4th
                           101 California Street




                                                      13   at 182.
                                                      14         B.     Even if Plaintiff’s Claims Were Not Barred by the Safe Harbor
                                                                        Doctrine, They Should be Dismissed
                                                      15
                                                      16                1.     Plaintiff Has Not Plausibly Alleged a Likelihood of Deception

                                                      17         Plaintiff’s claims for false advertising under the FAL and UCL must be
                                                      18   dismissed because he has not and cannot plead that the challenged label is likely to
                                                      19   mislead a reasonable consumer. See Freeman v. Time, Inc., 68 F.3d 285, 289 (9th Cir.
                                                      20   1995); Lavie v. Procter & Gamble Co., 105 Cal. App. 4th 496, 506-07 (2003)
                                                      21   (reasonable consumer standard applies to UCL false advertising claims); Consumer
                                                      22   Advocates v. Echostar Satellite Corp., 113 Cal. App. 4th 1351, 1360 (2003) (same
                                                      23   with respect to FAL advertising claims). To state a claim under the FAL and UCL, a
                                                      24   plaintiff must plausibly plead that “members of the public are likely to be deceived”
                                                      25   by the alleged false advertising statement. Brod v. Sioux Honey Ass’n Coop., 927 F.
                                                      26   Supp. 2d 811, 828 (N.D. Cal. 2013) (citing Freeman v. Time, Inc., 68 F.3d 285, 289
                                                      27   (9th Cir. 1995)). Notably, “‘likely to deceive’ implies more than a mere possibility
                                                      28
                                                                                                        8
                                                           DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                  TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1   that the advertisement might conceivably be misunderstood by some few consumers
                                                       2   viewing it in an unreasonable manner.” Lavie, 105 Cal. App. 4th at 508. Instead,
                                                       3   “likely to deceive” indicates that “it is probable that a significant portion of the
                                                       4   general consuming public or of targeted consumers, acting reasonably in the
                                                       5   circumstances, could be misled.” Id. (emphasis added).
                                                       6         The Court need look no further than the label at issue to determine, as a matter
                                                       7   of law, that “a significant portion of the general consuming public or of targeted
                                                       8   consumers, acting reasonably in the circumstances” would not be misled by the
                                                       9   “handcrafted” statement on Jim Beam’s bourbon label. Id.; see Hairston v. S. Beach
                                                      10   Beverage Co. Inc., Case No. CV-1429-JFW DTBX, 2012 WL 1893818, at *4 (C.D.
                                                      11   Cal. 2012) (dismissing UCL and FAL claims after concluding as a matter of law that
                       San Francisco, CA 94111-5802
Winston & Strawn LLP




                                                      12   members of the public were not likely to be deceived by the product packaging);
                           101 California Street




                                                      13   Werbel ex rel. v. Pepsico, Inc., Case No. C 09-04456 SBA, 2010 WL 2673860, at *4
                                                      14   (N.D. Cal. July 2, 2010) (dismissing UCL and FAL claims with prejudice where no
                                                      15   reasonable consumer would likely be deceived by statement on product packaging).
                                                      16   A review of the label itself demonstrates that Plaintiff’s claim fails for at least five
                                                      17   distinct reasons: (1) the statement at issue appears only once, in small font on the side
                                                      18   label of the product; (2) Plaintiff’s allegations demonstrate that he read the word
                                                      19   “handcrafted” out of context; (3) the “handcrafted” statement is not a specific and
                                                      20   measurable claim; (4) common sense defies Plaintiff’s proffered interpretation of the
                                                      21   statement; and (5) the “handcrafted” statement could not have misled Plaintiff in light
                                                      22   of his own allegations that videos and photographs admittedly available on Jim
                                                      23   Beam’s own public website demonstrate the actual production process for Jim Beam’s
                                                      24   white label bourbon.
                                                      25         First, the inconspicuous location and relative miniscule size of the
                                                      26   “handcrafted” statement on the challenged label renders implausible Plaintiff’s claim
                                                      27   that he was misled by that statement—let alone his allegations that an entire class of
                                                      28   purported California consumers were misled by such statement. Despite Plaintiff’s
                                                                                                        9
                                                           DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                  TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1   desperate attempts to enlarge and distort the size of the label’s “handcrafted”
                                                       2   statement in his Complaint (see ¶ 33), the truth—apparent from even a cursory review
                                                       3   of the label in its correct proportions—is that the statement appears only once, in
                                                       4   small font, on the side of the label, and in the context of a graphic depiction relating to
                                                       5   the recipe. This appears to be the first case where a plaintiff has based a labeling
                                                       6   claim on a side label, a claim that cannot be reconciled with repeated court holdings
                                                       7   that “a reasonable consumer” cannot be expected to read small print or a side label on
                                                       8   a product. See Lam v. General Mills, Inc., 859 F. Supp. 2d 1097, 1104 (N.D. Cal.
                                                       9   2012) (“[A]t the pleading stage, the Court cannot conclude that a reasonable consumer
                                                      10   should be expected to … discover the truth in the small print”); Williams v. Gerber
                                                      11   Prods. Co., 552 F.3d 934, 939 (9th Cir. 2008) (“disagree[ing] with the district court
                       San Francisco, CA 94111-5802
Winston & Strawn LLP




                                                      12   that reasonable consumers should be expected to look beyond misleading
                           101 California Street




                                                      13   representations on the front of the box to discover the truth from the ingredient list in
                                                      14   small print on the side of the box”); Koenig v. Boulder Brands, Inc., 995 F. Supp. 2d
                                                      15   274, 288 (S.D.N.Y. 2014) (“[A] reasonable consumer might … overlook the smaller
                                                      16   text that discloses the fat content”). With courts having held that a reasonable
                                                      17   consumer cannot be expected to look to the small text or side label to understand
                                                      18   ingredients, Plaintiff here cannot plausibly contend that a reasonable consumer would
                                                      19   be deceived by, and base his or her purchasing decision on, one word on the side of
                                                      20   the Jim Beam bourbon bottle. Moreover, unlike food or non-alcoholic beverage
                                                      21   manufacturers, Jim Beam is not required to list the ingredients on its label. That fact
                                                      22   underscores further that it is unlikely a reasonable consumer would look to the side
                                                      23   label of bourbon in deciding whether to purchase it.
                                                      24         Second, not only does the physical location and size of the “handcrafted”
                                                      25   statement on the label render it unlikely to mislead a reasonable consumer, the
                                                      26   juxtaposition of the sole “handcrafted” statement with other words on the label further
                                                      27   indicates that it is not likely to mislead a reasonable consumer. The “handcrafted”
                                                      28   statement does not appear in a vacuum on Jim Beam’s bourbon label; instead, it
                                                                                                        10
                                                           DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                  TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1   appears only as part of an artistic design above the words “family recipe.” Indeed,
                                                       2   both “handcrafted” and “family recipe” are printed in the same font and are part of a
                                                       3   unified design, with a whisky barrel appearing in between the words. Plaintiff’s
                                                       4   Complaint completely ignores the location of the “handcrafted” statement next to the
                                                       5   words “family recipe” and the well-established law in California that challenged
                                                       6   claims must be considered in context. See, e.g., Hairston, 2012 WL 1893818, at *4;
                                                       7   Koehler v. Litehouse, Inc., Case No. 12-cv-4055, 2012 WL 6217635, at *3 (N.D. Cal.
                                                       8   Dec. 13, 2012) (“To determine whether a reasonable consumer is likely to be
                                                       9   deceived, the statement must be read in context of the entire advertisement.”) (citing
                                                      10   Freeman v. Time, Inc., 68 F.3d 285, 289 (9th Cir. 1995)). In Hairston, a plaintiff
                                                      11   challenged the “all natural” statement on a beverage label, but because the “claim
                       San Francisco, CA 94111-5802
Winston & Strawn LLP




                                                      12   [was] based on a single out-of-context phrase found in one component” of the label,
                           101 California Street




                                                      13   the court concluded that “Plaintiff’s selective interpretation of individual words or
                                                      14   phrases from a product’s labeling [could not] support a CLRA, FAL, or UCL claim”
                                                      15   and granted the motion to dismiss. The court further stated that the company did not
                                                      16   use the challenged “language in a vacuum” and one statement could not suffice to
                                                      17   support the plaintiff’s claim. Id. Likewise, Plaintiff’s theory ignores all of the other
                                                      18   statements on the challenged label and instead presumes that reasonable consumers
                                                      19   would latch onto the single word “handcrafted” and interpret it to refer to the bourbon
                                                      20   itself, rather than the “family recipe” over which it directly appears. Plaintiff’s theory
                                                      21   is implausible and should be rejected.
                                                      22         Third, even if it is plausible that a significant portion of the consuming public
                                                      23   would see and rely on the sole “handcrafted” word on the side of Jim Beam’s label
                                                      24   and interpret it to refer to the bourbon rather than the recipe, Plaintiff has not and
                                                      25   cannot allege that the statement is likely to deceive reasonable consumers because the
                                                      26   term “handcrafted,” as used on Jim Beam’s label, is not a “specific and measurable
                                                      27   claim.” It therefore cannot mislead a reasonable consumer as a matter of law. See Vitt
                                                      28   v. Apple Computer, Inc., 469 F. App’x 605, 607 (9th Cir. 2012) (explaining that an
                                                                                                        11
                                                           DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                  TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1   actionable false advertisement requires “a ‘specific and measurable claim’ capable of
                                                       2   being proved false or of being reasonably interpreted as a statement of objective fact”)
                                                       3   (quoting Coastal Abstract Serv., Inc. v. First Am. Title Ins. Co., 173 F.3d 725, 731
                                                       4   (9th Cir. 1999)). Far from being a “[a] factual representation[] that a given standard
                                                       5   has been met” (id. at 607), “handcrafted,” particularly in the context of distilled
                                                       6   spirits, is a general, subjective term that is not subject to measurement. Plaintiff all
                                                       7   but concedes that there is no established standard for the use of the term “handcrafted”
                                                       8   in connection with the production of distilled spirits, as evidenced by his reliance on
                                                       9   the dictionary’s definition of “handcrafted”: “created by a hand process rather than a
                                                      10   machine” (see Compl. ¶ 70). But even that definition lacks the required quantifiable
                                                      11   specificity. For example, it fails to specify what a “hand process” is, and whether
                       San Francisco, CA 94111-5802
Winston & Strawn LLP




                                                      12   such a process may include mechanized components that are directed by hand. Not
                           101 California Street




                                                      13   only is the term “handcrafted” generalized and vague, but the Jim Beam label does not
                                                      14   include numerical or other quantifiers (such as “100%” or “all”), that could arguably
                                                      15   make the representation more objective. Because the term “handcrafted” on the Jim
                                                      16   Beam label is not a “specific and measurable claim,” it cannot reasonably be
                                                      17   interpreted in the manner Plaintiff alleges. See Vitt, 469 F. App’x at 607.
                                                      18         Fourth, even if the “handcrafted” statement is specific and measurable,
                                                      19   Plaintiff’s theory that he (and an entire purported class of California consumers)
                                                      20   would understand from the word “handcrafted” on Jim Beam’s label that the bourbon
                                                      21   was made entirely by hand defies the common sense standard applied by the Ninth
                                                      22   Circuit. Specifically, the Ninth Circuit has affirmed dismissal of UCL claims at the
                                                      23   pleading stage where the plaintiff’s theory “def[ied] common sense” and “strained
                                                      24   credulity.” See Stuart v. Cadbury Adams USA, LLC, 458 F. App’x 689, 690 (9th Cir.
                                                      25   2011) (affirming dismissal of plaintiff’s claim that Trident White gum “removes
                                                      26   stains” was misleading); Carrea v. Dreyer’s Grand Ice Cream, Inc., 475 F. App’x
                                                      27   113, 115 (9th Cir. 2012) (affirming dismissal of UCL claim because “it strains
                                                      28   credulity” to argue that a reasonable consumer would be misled to think that ice cream
                                                                                                        12
                                                           DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                  TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1   with “chocolate coating topped with nuts” is healthier than competing brands); see
                                                       2   also Williamson v. Apple, Inc., Case No. 5:11-cv-00377 EJD, 2012 WL 3835104, at
                                                       3   *1, 6 (N.D. Cal. Sept. 4, 2012) (dismissing UCL claim of plaintiff with a shattered
                                                       4   iPhone who challenged Apple’s statement that the glass it uses for the phones is
                                                       5   “comparable in strength to sapphire crystal” because “it is a well-known fact of life
                                                       6   that glass can break under impact” and it would require “a suspension of logic” to
                                                       7   think otherwise); Stearns v. Select Comfort Retail Corp., Case No. 08-2746 JF, 2009
                                                       8   WL 1635931, at *11 (N.D. Cal. June 5, 2009) (intentional misrepresentation claim
                                                       9   dismissed based on statement that beds would be “maintenance free” and that a
                                                      10   purchaser would receive “constant and wear free support night after night” because
                                                      11   “no product is ever maintenance-free” and “no consumer reasonably could have that
                       San Francisco, CA 94111-5802
Winston & Strawn LLP




                                                      12   expectation.”).
                           101 California Street




                                                      13         A common-sense, reasonable interpretation of the word “handcrafted” cannot
                                                      14   be that Jim Beam employees break up the grain with their hands, stir the mixture by
                                                      15   hand, distill and ferment the alcohol without the use of any machinery, make the glass
                                                      16   bottles by hand, fill each bottle by hand, and handwrite each label on each bottle. The
                                                      17   word “handcrafted” cannot reasonably be interpreted to mean, as Plaintiff would have
                                                      18   this Court believe, that every step of the Jim Beam bourbon production process must
                                                      19   be accomplished solely by hand. Instead, as Plaintiff points out in his Complaint, Jim
                                                      20   Beam’s bourbon is a distilled spirit (a consumable good) sold throughout the United
                                                      21   States. Of course, Jim Beam bourbon must be prepared in compliance with health and
                                                      22   safety regulations and in a clean and sanitary manner. Not even the least sophisticated
                                                      23   consumer of bourbon—and certainly not a reasonable consumer—would understand
                                                      24   that this consumed drink, made from combining various ingredients together in
                                                      25   different ways, would be literally and entirely made with human hands. See Lavie,
                                                      26   105 Cal. App. 4th at 510 (the “likely to deceive” standard is an objective one based on
                                                      27   the reasonable consumer, not an “exceptionally acute” consumer, nor the “least
                                                      28   sophisticated consumer”). Accordingly, because a reasonable consumer could not be
                                                                                                        13
                                                           DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                  TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1   misled, the Court should dismiss Plaintiff’s claims.
                                                       2         Finally, the “handcrafted” representation could not have misled Plaintiff
                                                       3   because, as Plaintiff highlights in his Complaint, videos and photographs admittedly
                                                       4   available on Jim Beam’s own public website demonstrate the actual production
                                                       5   process for Jim Beam’s bourbon. See Compl. ¶¶ 15-16, 19, 38-39. 3 A statement
                                                       6   cannot be misleading where the advertiser expressly discloses to the buying public the
                                                       7   objective facts underlying that statement. See, e.g., Porras v. StubHub, Inc., Case No.
                                                       8   C 12-1225 MMC, 2012 WL 3835073, at *6 (N.D. Cal. Sept. 4, 2012); Manchouck v.
                                                       9   Mondelez Int’l Inc., 2013 WL 5400285, at *3 (N.D. Cal. Sept. 26, 2013) (dismissal of
                                                      10   claim premised on statement that cookies were “made with real fruit” where “the list
                                                      11   of ingredients on the packaging serves notice to consumers that the products contain
                       San Francisco, CA 94111-5802
Winston & Strawn LLP




                                                      12   ‘Raspberry Purée’ and ‘Strawberry Purée’ respectively”); Thomas v. Costco
                           101 California Street




                                                      13   Wholesale Corp., Case No. 5:12-CV-02908 EJD, 2013 WL 1435292, at *5 (N.D. Cal.
                                                      14   Apr. 9, 2013) (“no trans fat” claim on label was non-actionable where it was “clearly
                                                      15   stated on the labeling of the product [plaintiff] purchased”). Plaintiff cannot plausibly
                                                      16   contend Jim Beam misleads anyone about the nature of the process for producing its
                                                      17   bourbon when Plaintiff also alleges that Jim Beam’s own public materials contain the
                                                      18   various videos and photos showing the “true” process for making the bourbon.
                                                      19   Accordingly, Plaintiff fails to state a claim and his Complaint must be dismissed.
                                                      20                2.     Plaintiff Cannot State a Claim For Intentional
                                                                               Misrepresentation
                                                      21
                                                      22         To state a claim for intentional misrepresentation under California law, a
                                                      23
                                                           3
                                                             This Court may consider Jim Beam’s website in ruling on a Rule 12(b)(6) motion to
                                                      24   dismiss, given Plaintiff’s extensive reliance on the website in their Complaint. See
                                                           Daniels-Hack v. Nat’l Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010) (explaining that
                                                      25   courts may consider documents incorporated into a complaint by reference on a Rule
                                                           12(b)(6) motion to dismiss); Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005)
                                                      26   (courts have the authority to consider a document in ruling on a Rule 12(b)(6) motion
                                                           to dismiss even if the plaintiff does not physically attach the document if the
                                                      27   plaintiff’s complaint necessarily relies upon it and no party disputes its authenticity).
                                                           Plaintiff does not dispute the website’s authenticity, and indeed he relies on the
                                                      28   website extensively throughout his Complaint. (See Compl. ¶¶ 15-16, 19, 37-63.)
                                                                                                        14
                                                           DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                  TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1   plaintiff must plead seven elements with particularity: (1) the defendant represented to
                                                       2   the plaintiff that an important fact was true; (2) that representation was false; (3) the
                                                       3   defendant knew that the representation was false when the defendant made it, or the
                                                       4   defendant made the representation recklessly and without regard for the truth; (4) the
                                                       5   defendant intended that the plaintiff rely on the representation; (5) the plaintiff
                                                       6   reasonably relied on the representation; (6) the plaintiff was harmed; and (7) the
                                                       7   plaintiff’s reliance on the representation was a substantial factor in causing that harm
                                                       8   to the plaintiff. Manderville v. PCG & S Group, Inc., 146 Cal. App. 4th 1486, 1498
                                                       9   (2007). Here, Plaintiff’s intentional misrepresentation claim fails for two reasons.
                                                      10   First, as set forth above, Plaintiff has not and cannot plead that the challenged
                                                      11   statement would mislead a reasonable consumer such that the consumer could have
                       San Francisco, CA 94111-5802
Winston & Strawn LLP




                                                      12   reasonably relied on it. Thus, that statement cannot form the basis of an intentional
                           101 California Street




                                                      13   misrepresentation (i.e., fraud) claim. See Stuart, 458 F. App’x at 691-92 (fraud claim
                                                      14   dismissed because challenged statement could not, as a matter of law, have misled a
                                                      15   reasonable person).
                                                      16         Second, Plaintiff has not—and cannot—allege that Jim Beam acted with the
                                                      17   requisite fraudulent intent to deceive in light of Plaintiff’s own allegations concerning
                                                      18   Jim Beam’s production process, which it fully disclosed on its own website. In other
                                                      19   words, Plaintiff alleges that Jim Beam itself publicly disclosed the “truth” about its
                                                      20   distilling and bottling process on its website—which is completely inconsistent with
                                                      21   the conclusory allegations that Jim Beam intended to defraud. Compare, e.g., Compl.
                                                      22   ¶¶ 15-16, 19 (allegations describing Jim Beam’s website, photos, and video footage)
                                                      23   with Compl. ¶ 120 (alleging Jim Beam “knew that their bourbon was not
                                                      24   ‘handcrafted,’ but nevertheless made representations that it was, with the intention
                                                      25   that consumer rely on their representations”). If Jim Beam intended to defraud
                                                      26   consumers by use of the “handcrafted” statement on its white label bourbon bottle, it
                                                      27   certainly would not publicly post what Plaintiff describes as accurate depictions of the
                                                      28   Jim Beam production process. Jim Beam’s public disclosure of its production process
                                                                                                        15
                                                           DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                  TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1   is entirely inconsistent with any fraudulent intent, and Plaintiff’s specific allegations
                                                       2   on that score trump his conclusory allegations of intent. See Chem. Device Corp. v.
                                                       3   Am. Cyanamid Co., Case No. C-89-1739 WHO, 1990 WL 56164, at *3 (N.D. Cal.
                                                       4   Jan. 11, 1990) (“the court is not bound to accept conclusory legal allegations in the
                                                       5   complaint when more specific allegations in the pleadings are at variance with those
                                                       6   conclusions”) (citation omitted); see also Sprewell v. Golden State Warriors, 266 F.3d
                                                       7   979, 988-89 (9th Cir. 2001) (affirming dismissal of the plaintiff’s claim, explaining
                                                       8   that a plaintiff can plead himself out of a claim by including in his complaint and
                                                       9   exhibits thereto detail contrary to his claims); see also Steckman v. Hart Brewing, Inc.,
                                                      10   143 F.3d 1293, 1295–96 (9th Cir. 1998) (“[W]e are not required to accept as true
                                                      11   conclusory allegations which are contradicted by documents referred to in the
                       San Francisco, CA 94111-5802
Winston & Strawn LLP




                                                      12   complaint.”). Plaintiff’s intentional misrepresentation claim should be dismissed
                           101 California Street




                                                      13   accordingly.
                                                      14                  3.   The Economic Loss Doctrine Bars Plaintiff’s Negligent
                                                                               Misrepresentation Claims
                                                      15
                                                      16         As Plaintiff’s counsel recently conceded in a false advertising case their clients
                                                      17   brought against another bourbon producer in this District, 4 negligent
                                                      18   misrepresentation claims based solely on economic injury – like that asserted here –
                                                      19   fail under California’s well-established economic loss doctrine. Under California law,
                                                      20   “[i]n the absence of (1) personal injury, (2) physical damage to property, (3) a ‘special
                                                      21   relationship’ existing between the parties, or (4) some other common law exception to
                                                      22   the rule, recovery of purely economic loss is foreclosed.” Kalitta Air, LLC v. Cent.
                                                      23   Tex. Airborne Sys., Inc., 315 F. App’x 603, 605 (9th Cir. 2008) (quoting J'Aire Corp.
                                                      24   v. Gregory, 24 Cal. 3d 799, 804 (Cal. 1979). Plaintiff does not allege personal injury
                                                      25   or property damage, only that he would not have purchased the product or would have
                                                      26   paid less for the product absent the “handcrafted” statement. Compl. ¶ 112. Courts
                                                      27   4
                                                            See Nowrouzi v. Maker’s Mark Distillery Inc., No. 3:14-CV-02885-JAH-NLS (S.D.
                                                           Cal.), Dkt. 10, Plaintiff’s Memorandum of Points and Authorities in Opposition to
                                                      28   Defendant’s Motion to Dismiss at 18.
                                                                                                        16
                                                           DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                  TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
                                                       1   have routinely held that the economic loss doctrine bars negligent misrepresentation
                                                       2   claims based on economic injury in consumer class actions. See, e.g., Minkler v.
                                                       3   Apple, Inc., No. 5:13-CV-05332-EJD, 2014 WL 4100613, at *6 (N.D. Cal. Aug. 20,
                                                       4   2014) (negligent misrepresentation claim dismissed pursuant to the “economic loss”
                                                       5   rule, where plaintiff alleged she would not have purchased the iPhone 5 had she
                                                       6   known of an alleged Apple Maps defect); Ladore v. Sony Computer Entm’t Am., LLC,
                                                       7   No. C-14-3530 EMC, 2014 WL 7187159, at *8-9 (N.D. Cal. Dec. 16, 2014)
                                                       8   (negligent misrepresentation claim dismissed pursuant to the “economic loss” rule
                                                       9   where plaintiff alleged only economic damages as a result of his purchase of allegedly
                                                      10   defective Sony product); Vavak v. Abbott Labs., Inc., No. SACV 10-1995 JVS,
                                                      11   2011 WL 10550065, at *4-6 (C.D. Cal. June 17, 2011) (negligent misrepresentation
                       San Francisco, CA 94111-5802
Winston & Strawn LLP




                                                      12   claims based solely on money damages incurred from the purchase price barred by the
                           101 California Street




                                                      13   “economic loss” rule where purchaser alleged that she would not have paid for
                                                      14   allegedly defective baby formula). As Plaintiff has not and cannot establish the
                                                      15   required injury to avoid the economic loss doctrine, his negligent misrepresentation
                                                      16   claim should be dismissed as a matter of law.
                                                      17   V.    CONCLUSION
                                                      18         For the foregoing reasons, Jim Beam respectfully requests that the Court
                                                      19   dismiss Plaintiff’s Complaint with prejudice as set forth herein.
                                                      20   Dated: March 18, 2015                    WINSTON & STRAWN LLP
                                                      21
                                                      22
                                                                                                    By:/s/ Amanda L. Groves
                                                      23                                                 Amanda L. Groves
                                                                                                         Daniel D. Rubinstein
                                                      24                                                 Attorneys for Defendant
                                                                                                         JIM BEAM BRANDS CO.
                                                      25
                                                      26
                                                      27
                                                      28
                                                                                                        17
                                                           DEFENDANT JIM BEAM BRANDS CO.’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS MOTION
                                                                                  TO DISMISS COMPLAINT - CASE NO. 15-CV-0328 LAB JMA
